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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA


(1)    AMERICAN BUILDERS                  )
       INSURANCE COMPANY                  )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )       Case No. CIV-19-75-HE
                                                           _____________________
                                          )
(1)    CHRISTOPHER LEE                    )
       & COMPANY, LLC;                    )
                                          )
              -   and -                   )
                                          )
(2)    ROBERT HEFNER IV AND               )
       CAROL HEFNER,                      )
       HUSBAND AND WIFE.                  )
                                          )
                     Defendants.          )

                  COMPLAINT FOR DECLARATORY JUDGMENT

       COMES NOW Plaintiff, American Builders Insurance Company (“Builders”), and

files this Complaint for Declaratory Judgment against Defendants, Christopher Lee &

Company, LLC, (”CLC”), and Robert Hefner IV and Carol Hefner, husband and wife,

and states as follows:

                                        PARTIES

1.     Plaintiff, Builders, is a Delaware corporation with its principal place of business in

Georgia.

2.     Defendant, Christopher Lee & Company, LLC, is an Oklahoma corporation with

its principal place of business in Oklahoma City, Oklahoma.
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3.     Defendants, Robert Hefner IV and Carol Hefner (the “Hefners”), husband and

wife, are citizens of Oklahoma.

                            VENUE AND JURISDICTION

4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a).

5.     This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §1332,

because there is complete diversity of citizenship between the parties, and because the

amount in controversy, exclusive of interest and costs, exceeds the sum of $75,000.00.

The relief requested by Builders is authorized by 28 U.S.C. §§2201 and 2202

(Declaratory Judgments).

                                  UNDERLYING FACTS

6.     On June 17, 2014, CLC entered into an Architectural Design Services Agreement

with the Hefners for the design and construction of a home in Edmond, Oklahoma.

7.     The Architectural Design Services Contract was followed by a Preconstruction

Services Contract on July 16, 2014 and a final Construction Contract executed on

October 23, 2015 with an estimated total cost of $1,516,321.20. (The Construction

Contract is attached as Exhibit 1.)

8.     Builders provided Commercial General Liability Coverage to CLC under two

successive policies with effective dates of January 23, 2016 to January 23, 2018 under

Policy Nos. PKG 0141573 03 and PKG 0141573 04, respectively. (Attached as Exhibits

2 and 3, respectively.)

9.     After numerous delays and nearly one hundred change orders, the construction of

the home was completed:

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       a. On June 13, 2017, the City of Edmond issued Certificate of Use
          and Occupancy Permits stating that the building complied with
          the basic code;

       b. On June 14, 2017, the Hefners executed a Certificate of
          Acceptance.

       c. The Certificate of Acceptance provided that the purchasers had
          inspected the house and delivered a list of final repairs or
          completion items (“punch list”) to the builder and that the
          purchaser accepted the house as finished.

       d. On June 14, 2017, the Hefners and CLC executed a Builder’s
          One Year Limited Home Warranty.

10.    On August 24, 2017, the Hefners submitted a Notice of Defect letter to CLC,

which included a supplemental punch list of 37 items of varying significance.

11.    On September 22, 2017, CLC responded to the Hefners by letter, offering to repair

certain items and rejecting other requested repairs on the basis that the alleged defects

were the result of change requests made by the Hefners, and denying that other items

were in fact defects.

12.    On September 26, 2017, CLC filed a Materialman’s Lien against the Hefner’s

property for the outstanding balance of $150,000.

13.    On September 27, 2017, the Hefners rejected CLC’s offer of repairs by letter and

without further explanation.

14.    On September 6, 2017, Builders received notice of a potential claim under the

policies issued to CLC concerning the Hefners’ dispute. (Notice of Loss attached as

Exhibit 4.)




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15.    In response to receiving notice of the potential claim, Builders agreed to provide a

defense to CLC under a reservation of rights, reserving its right to withdraw its defense of

CLC and/or to deny coverage for the claims raised in the Arbitration Action.

16.    On October 9, 2017, the Hefners initiated arbitration proceedings (the Arbitration

Action”), pursuant to the Construction Contract, based on claims of breach of contract,

negligence, breach of express warranty, breach of implied warranty, unjust enrichment,

quiet title/extinguish lien/slander of title, material misrepresentation/fraud in the

inducement, fraud/constructive fraud, and negligent misrepresentation. The Hefners’

Notice of Arbitration includes a demand for $250,000, exclusive of costs and attorney’s

fees. (Arbitration Notice and Demand attached as Exhibit 5.)

                              THE BUILDERS POLICIES

17.    Builders issued Commercial Package Policies to CLC, Policy No. PKG 0141573

03, effective from January 23, 2016 to January 23, 2017, and Policy No. PKG 0141573

04, effective from January 23, 2017 to January 23, 2018. Each of the Commercial

Package Policies provided CLC with Commercial General Liability Coverage under a

COMMERCIAL GENERAL LIABILITY COVERAGE FORM. True and correct

copies of the relevant portions of the two referenced Builders Policies, including the

Declarations, the applicable COMMERCIAL GENERAL LIABILITY COVERAGE

FORM (CG 00 01 04 13), and all potentially applicable endorsements, are attached as

Exhibits 2 and 3, respectively (hereinafter the “Builders Policies”).




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18.    The Builders Policies provide, at SECTION I – COVERAGES, COVERAGE A

BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 1. Insuring

Agreement, in pertinent part:

            a. [Builders] will pay those sums that the insured becomes
               legally obligated to pay as damages because of … “property
               damage” to which this insurance applies. We will have the
               right and duty to defend the insured against any “suit”
               seeking those damages. However, we will have no duty to
               defend the insured against any “suit” seeking damages for …
               “property damage” to which this insurance does not apply….

                            *              *           *

            b. This insurance applies to … “property damage” only if:

               (1) The … “property damage” is caused by an “occurrence”
                   that takes place in the “coverage territory”;

               (2) The … “property damage” occurs during the policy
                   period; and

                            *              *           *

See Exhibits 2 and 3, CG 00 01 04 13, at p. 1 of 16.

19.    The Builders Policies provide, at SECTION I – COVERAGES, COVERAGE A

BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions, in

pertinent part:

       This insurance does not apply to:

                            *              *           *

       b.      Contractual Liability

               "Bodily injury" or "property damage" for which the insured is obligated to
               pay damages by reason of the assumption of liability in a contract or
               agreement. This exclusion does not apply to liability for damages:
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               (1)    That the insured would have in the absence of the contract or
                      agreement; or

               (2)     Assumed in a contract or agreement that is an "insured contract",
                       provided the "bodily injury" or "property damage" occurs
                       subsequent to the execution of the contract or agreement. Solely for
                       the purposes of liability assumed in an "insured contract",
                       reasonable attorneys' fees and necessary litigation expenses
                       incurred by or for a party other than an insured are deemed to be
                       damages because of "bodily injury" or "property damage",
                       provided:

                      (a) Liability to such party for, or for the cost of, that party's defense
                          has also been assumed in the same "insured contract"; and

                      (b) Such attorneys' fees and litigation expenses are for defense of
                          that party against a civil or alternative dispute resolution
                          proceeding in which damages to which this insurance applies are
                          alleged.

                             *             *              *

See Exhibits 2 and 3, CG 00 01 04 13, at p. 5 of 16.

20.    The Builders Policies, at SECTION V – DEFINITIONS, contain the following

definitions:

       13.     “Occurrence” means an accident, including continuous or repeated
               exposure to substantially the same general harmful conditions.

                             *             *              *

       17.     “Property damage” means:

               a. Physical injury to tangible property, including all resulting loss
                  of use of that property. All such loss of use shall be deemed to
                  occur at the time of the physical injury that caused it; or

               b. Loss of use of tangible property that is not physically injured. All
                  such loss of use shall be deemed to occur at the time of the
                  “occurrence” that caused it.

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                               *           *             *

       22.     “Your work”:

               a. Means:

                  (1) Work or operations performed by you or on your behalf; and

                  (2) Materials, parts or equipment furnished in connection with
                      such work or operations.

               b. Includes:

                  (1) Warranties or representations made at any time with respect
                      to the fitness, quality, durability, performance or use of “your
                      work”, and

                  (2) The providing of or failure to provide warnings or
                      instructions.

See Exhibits 2 and 3, CG 00 01 04 13, at pp. 15 and 16 of 16.

21.    The Builders Policies contain a Resulting Damage Coverage endorsement that

provides, in pertinent part:

       RESULTING DAMAGE COVERAGE

       This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE FORM

       In regard only to "your work" in connection with residential structures, Exclusion
       i.

       Damage to Your Work of Section I - Coverages, Coverage A. Bodily Injury
       and Property Damage Liability, 2. Exclusions is deleted and replaced with:

       l.      Faulty, Defective or Poor Workmanship in Your Work

               This insurance does not apply to any claim or "suit" for the cost of repair,
               replacement, adjustment, removal, loss of use, inspection, disposal, or
               otherwise making good any faulty, defective or poor workmanship in "your


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              work" for which any insured or any insured's employees, contractors, or
              subcontractors may be liable.

              This exclusion does not apply to "property damage" sustained by any other
              property that is caused by the faulty, defective or poor workmanship in
              "your work".

              This exclusion applies only to residential structures for which coverage is
              not otherwise excluded under this insurance.

See Exhibits 2 and 3, GL RFWE 10 13, p. 1 of 1.

22.    The Builders Policies contain a Contractors Professional Liability endorsement

that provides, in pertinent part:

                             EXCLUSION – CONTRACTORS –
                               PROFESSIONAL LIABILITY

                                            ***
       The following exclusion is added to Paragraph 2. Exclusions of Section I —
       Coverage A — Bodily Injury And Property Damage Liability and Paragraph 2.
       Exclusions of Section I — Coverage B — Personal And Advertising Injury
       Liability:

           1. This insurance does not apply to … "property damage" … arising out of the
              rendering of or failure to render any professional services by you or on your
              behalf, but only with respect to either or both of the following operations:

              a. Providing engineering, architectural or surveying services to others in
                 your capacity as an engineer, architect or surveyor; and

              b. Providing, or hiring independent professionals to provide, engineering,
                 architectural or surveying services in connection with construction work
                 you perform.

                  This exclusion applies even if the claims against any insured allege
                  negligence or other wrongdoing in the supervision, hiring, employment,
                  training or monitoring of others by that insured, if the "occurrence"
                  which caused the … "property damage", … involved the rendering of or
                  failure to render any professional services by you or on your behalf with
                  respect to the operations described above.

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          2. Subject to Paragraph 3. below, professional services include:

              a. Preparing, approving, or failing to prepare or approve, maps, shop
                 drawings, opinions, reports, surveys, field orders, change orders, or
                 drawings and specifications; and

              b. Supervisory or inspection activities performed as part of any related
                 architectural or engineering activities.

          3. Professional services do not include services within construction means,
             methods, techniques, sequences and procedures employed by you in
             connection with your operations in your capacity as a construction
             contractor.

See Exhibits 2 and 3, CG 22 79 04 13, at p. 1 of 1.

23.    The Builders Policies contain an Exterior Insulation and Finish Systems

endorsement that provides, in pertinent part:

                       EXCLUSION – EXTERIOR INSULATION
                             AND FINISH SYSTEMS

       This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


       A. This insurance does not apply to … "property damage" … arising out of,
          caused by, or attributable to, whether in whole or in part, the following:
          1. The design, manufacture, construction, fabrication, preparation, distribution
             and sale, installation, application, maintenance or repair, including
             remodeling, service, correction or replacement, of any "exterior insulation
             and finish system" or any part thereof, or any substantially similar system
             or any part thereof, including the application or use of conditioners,
             primers, accessories, flashings, coatings, caulking or sealants in connection
             with such a system; or

          2. "Your product" or "your work" with respect to any exterior component,
             fixture or feature of any structure if an "exterior insulation and finish
             system", or any substantially similar system, is used on the part of the
             structure containing that component, fixture or feature.


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       B. The following definition is added to the Definitions Section:
          "Exterior insulation and finish system" means a nonload bearing exterior
          cladding or finish system, and all component parts therein, used on any part of
          any structure, and consisting of:
          1. A rigid or semi-rigid insulation board made of expanded polystyrene and
             other materials;
          2. The adhesive and/or mechanical fasterners used to attach the insulation
             board to the substrate;
          3. A reinforced or unreinforced base coat;
          4. A finish coat providing surface texture to which color may be added; and
          5. Any flashing, caulking or sealant used with the system for any purpose.
See Exhibits 2 and 3, CG 21 86 12 04, at p. 1 of 1.

                       BASIS FOR DECLARATORY RELIEF

24.    The claims raised in the Arbitration Action, seeking damages as a result of faulty

workmanship, including breach of contract, negligence, breach of express warranty,

breach of implied warranty, unjust enrichment, quiet title/extinguish lien/slander of title,

material misreprentation/fraud in the inducement, fraud/constructive fraud and negligent

misrepresentation, do not constitute damages because of “property damage” caused by an

“occurrence” and are not covered under the Builders Policies.

25.    All of the damages claimed by the Hefners in the Arbitration Action are

contractual in nature and are specifically excluded by the Contractual Liability exclusion

contained in the Builders Policies.

26.    All of the damages claimed by the Hefners in the Arbitration Action seek damages

for the repair, replacement, adjustment, or otherwise making good faulty, defective or

poor workmanship by CLC and/or its subcontractors in the construction of the Hefner’s

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home, and are specifically excluded from coverage by the Resulting Damage Coverage

exclusion form contained in the Builders Policies.

27.    Any claims made by the Hefners against CLC for damages arising out of the

rendering or failure to render professional services, as defined by the Builders Policies,

are excluded from coverage by the Contractors Professional Liability endorsement

contained in the Builders Policies.

28.    Any claims made by the Hefners against CLC for damages arising from the

installation of an Exterior Insulation and Finish System are excluded from coverage by

the Exterior Insulation Finishing System endorsement contained in the Builders Policies.

                                 PRAYER FOR RELIEF

       WHEREFORE, American Builders Insurance Company respectfully requests that

this Court enter judgment in its favor, declaring that:

(1)    Builders has no duty to defend or to indemnify Christopher Lee & Company, LLC

in the arbitration proceedings filed by the Hefners because none of the damages sought

by the Hefners constitute damages because of “property damage” caused by an

“occurrence,” as defined by the Builders Policies;

(2)    Alternatively, should any of the damages sought in the Arbitration Action

constitute damages because of “property damage” caused by an “occurrence,” any such

damages are excluded from coverage for the following reasons:

       (a)    The damages claimed by the Hefners in the Arbitration Action, which are

contractual in nature and arise from CLC’s performance, or failure to perform, under the



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terms of the Construction Contract, are excluded by the Contractual Liability exclusion

contained in the Builders Policies;

       (b)     All damages claimed by the Hefners in the Arbitration Action resulted from

the cost of repair, replacement, adjustment, or otherwise making good faulty, defective or

poor workmanship by CLC, and/or its subcontractors and are specifically excluded by the

Resulting Damage Coverage endorsement of the Builders Policies;

       (c)     Any damages arising out of the rendering or failure to render professional

services, as defined by the Builders Policies, are excluded from coverage by the

Contractors Professional Liability endorsement contained in the Policies;

       (d)     Any claims made by the Hefners against CLC for damages arising from the

installation of an Exterior Insulation and Finish System are excluded from coverage by

the Exterior Insulation Finishing System endorsement contained in the Policies.

(3)    For such other and further relief that the Court deems just and proper, including

the costs of this action.

                                         Respectfully submitted,

                                         /s/Robert N. Naifeh, Jr.
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